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UNITED STATES DISTRICT COURT                                                                6/9/21
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------- x
UNITED STATES OF AMERICA,                                             :
                                                                      :
                                            Plaintiff,                :
                                                                      :   20-CR-585 (ALC)
                 -against-                                            :
                                                                      :   ORDER
RONALD ROMANO,                                                        :
                                                                      :
                                            Defendant.                :
                                                                      :
                                                                      :
---------------------------------------------------------------------
                                                                      x
ANDREW L. CARTER, JR., District Judge:

         The Status Conference set for June 24, 2021 at 12:30 p.m. is converted to a Telephone

Status Conference. The parties should contact the Court at 1-888-363-4749 on the date and time

specified above and once prompted, should dial access code 3768660.

SO ORDERED.


Dated:            New York, New York
                  June 9, 2021




                                                     ____________________________________
                                                           ANDREW L. CARTER, JR.
                                                           United States District Judge
